    Case 3:23-cv-03417-VC           Document 244-14        Filed 10/29/24   Page 1 of 2




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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,
                                                   [PROPOSED] ORDER GRANTING
  v.                                               PLAINTIFFS’ MOTION TO MODIFY
                                                   STIPULATION AND ORDER RE
META PLATFORMS, INC.,                              SCHEDULE

                                    Defendant.


         [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO MODIFY STIPULATION AND ORDER
                                                                 CASE NO. 3:23-cv-03417-VC
     Case 3:23-cv-03417-VC         Document 244-14           Filed 10/29/24    Page 2 of 2




       Before                       Administrative Motion to Modify the Stipulation and Order

re Schedule

                                                                                case management

schedule, Dkt. 238, as follows:




                   Case Event                         Current Deadline    Amended Deadline

   Letter Briefs re: Existing Written Discovery          10/23/2024           11/06/2024




IT IS SO ORDERED, on this date                                        .




                                            The Honorable Vince Chhabria
                                            UNITED STATES DISTRICT JUDGE




         [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO MODIFY STIPULATION AND ORDER
                                                                 CASE NO. 3:23-cv-03417-VC
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